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EXHIBIT
66 A”
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AO 440 (Rey, 06/1 2) Summons ina Civil Action
UNITED STATES DISTRICT COURT

for the

 

Eastern District of Pennsylvania

 

 

DAVID HATCHIGIAN AND JOAN )
RANDAZZO )
)
)
Plaintiffs) )
v. Civil Action No, 20-4110
)
CARRIER CORPORATION AND )
PEIRCE-PHELPS )
)
Defendant(s) )
- SUMMONS IN A CIVIL ACTION .
CARRIO

TO: (Defendant's name and address) ff ph (ES A, WEL BM wf SM o Lo hd. RIVE fC,
LOG MIN GOGEIK, CRBOLYHA MIC BE LLa GOMWSIZBE
ROOCG VI ANE? Sreea>, SOC7TSs SEE PEO A Pa fP80F

PIBREE-~-PHELPS Tories — Ry ay SCM 4 FBEWL AT

phd, PL PES OLO €WEta sey
AY & f (Bled avai & Osa 2000 3 0 7o Se SEC
} Reda bi has been at against you Wh one £0 7 96s
Within 21 days after service of this summons on you (not counting the day yeu received it) — or 60 days if you

are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose natrié and address are:

DAVID HATCHIGIAN
2414 TOWNSHIP LINE
ROAD

HAVERTOWN, PA 19083

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also must file your answer of motion with-the court,

CLERK OF COURT

S/Vohn Arouw

Date: 8/24/20
Sigaature.of Clerk or Deputy Clerk

 

 

 

 
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

DAVID HATCHIGIAN AND
JOAN RANDAZZO,

Plaintiffs,

vs. Civil Action No. 20-4110

GOUNTY OF PHILADELPHIA,

COURT OF COMMON PLEAS

OF PHILDELPHIA COUNTY,

CARRIER CORPORATION,

AND PEIRCE-PHELPS, JURY TRIAL DEMAND
Defendants.

AMENDED COMPLAINT

Plaintiffs DAVID HATCHIGIAN and JOAN RANDAZZO, file this amended .
pleading in their action against Defendant COUNTY OF PHILADELPHIA, Defendant
CARRIER CORPORATION and Defendant PEIRCE PHELPS (hereinafter collectively
“Defendants”), seeking a Declaratory Judgment pursuant to 42 Pa. C.S. § 7532 and
alleging breach of settlement and denial of due process under the Pennsylvania and .
Federal Constitutions. Additionally, the claims previously filed by Plaintiff Hatchigian
against Defendant Carrier and Defendant Peirce-Phelps in Philadelphia County
Common Pleas Court on Sept. 20, 2015 under CP Case No. 150604314 have yet to be
litigated and incorporated by reference and re-pled below as recited verbatim herein. A
true copy of the Complaint in CP Case No. 150604314 is attached hereto as Ex. B.

I. INTRODUCTION

1. . Like thousands of homeowners actoss the country, Plaintiff Hatchigian

purchased an air conditioner from the HVAC (heating, ventilation, and air conditioning)
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experts at Carrier to cool his residence during the summer months. Carrier advertises
its product as specifically designed for residential use, and prices the product
accordingly.

2. But after installation, the unit degrades, de-composes, rots, cracks, splits,
checks, splinters, peels, delaminates, flakes, soaks, expands, swells the surrounding
wall where the unit is installed, causing the structure to develop wet mold and mildew,
black spots, streaking and discoloration, and contaminating the air breathed by
occupants with mold spores.

3. in September of 2015, Plaintiff Hatchigian alleged the extensive mold
damage to his Brentwood property (located @ 7512 Brentwood Road, Philadelphia, PA
19151 (hereinafter “the Property”) in the state court action, which requested both
injunctive relief and money damages (See Case No. 150604314. First Judicial District of
Pennsylvania, Court of Common Pleas of Philadelphia)(hereinafter “state court action’;
“underlying action”, Case No. 150604314") Ex. B |

4, The state court action alleged that warrantor Carrier refused to reimburse
his replacement costs and replaced the defective unit with other defective units, denying
warranty coverage for uninstallation, removal and reinstallation tabor, costs to repair
structural damage to walls and roof at the Property, residential moid remediation service
charges, lost rent and medical fees for testing and diagnosis of developing mold-related
health conditions, none of which would have arisen but for Carrier's breaches and
negligence. See Counts | through Count V, Complaint, No. 150604314. Ex. B

5, The state court action was called to a non -jury trial on Jan. 23, 2017

before the Honorable Gene Cohen, at which time it became evident there was no cause
Case 2:20-cv-04110-CFK Document 15-2-iledeleOls02 Pagegedi 2688

of the alleged roof leak and mold contamination at the Property other than Carrier roof
top unit and that seller Peirce's post-installation repair service had been insufficient to
stop the roof leak and the consequential property damage to Plaintiffs’ residence
caused by the Carrier HVAC unit. See Common Pleas Complaint, No. 1506043714, at ff]
4-26. Ex. B

6. The Carrier air conditioner litigated in the state court action came with no
mold warning when installed and Carrier does not provide the warranty directly to
consumers at the time of sale. In the absence of a duty to recall the product, Defendant
Carrier's sole defense relied on a disclaimer of consequential damages provided to
Hatchigian only after he submitted his warranty claim to Carrier (i.e., long after the
_ original sale) and purporting to waive ail of Hatchigian’s costs and charges (see
Common Pleas No. 150604374, Complaint at P1- P5). Carrier’s attorney could not
refute the company’s notice of the fact that the amount claimed under the warranty far
exceeded the original purchase price of the Carrier unit, so that Defendant Carrier's
subsequently- disclosed limited warranty and the post-sale repair attempts were no
remedy at all; it was well aware of the mold-inducing effect of proper installation when
placing the defective air conditioner with the known defect back on the market. Common
Pieas No. 150604314, Complaint, at 176.

7. Counsel for Carrier offered to settle the case on the eve of trial but
knowingly engaged in settlement conduct that resulted in a sham settlement process,
depriving Plaintiff Hatchigian a day in court on his legal claims. Therefore, the instant
Amended Complaint is filed to vindicate Plaintiffs’ individual rights as U.S. consumers

and alleges constitutional violations, damages, injunctive and declaratory relief under 42
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USC §1983 seeking this Court's clarification of consumers’ settlement rights regarding

future actions commenced in the state courts of Pennsylvania.

iF JURISDICTION AND VENUE

 

8. Plaintiffs state violations of the state and Federal Constitutions against
Defendant County of Philadelphia and Defendant Court of Common Pleas of
Philadelphia County, thereby conferring jurisdiction on this Court pursuant to 28 U.S.C.
§ 1331 with respect to Counts II and lil. *

9. Additionally, this Court has subject matter jurisdiction pursuant to 28 USC
§ 1332(a) as to Counts |, VI-XI (pled against Defendants Carrier and Peirce and seeking
$50,000 in exemplary damages plus compensatory darnages of approximately
$30,000.00 including the purchase price of the subject Carrier HVAC product,
$15,000.00 in costs to uninstall and replace the subject Carrier unit, loss of the use of
their home, $2000.00 in mold remediation charges and mold-related expenses,
$1,000.00 for HVAC inspection, approximately $10,000.00 in lost rents, court fees and
litigation expenses including $5,000.00 for legal research, and $3,000.00 in settlement
funds foregone under the Settlement Agreement)

10. The value of these claims exceeds $75,000 and these counts involve
citizens of different states and citizens of a foreign state who are not residents of a state

of the United States. Defendant PEIRCE-PHELPS is a Delaware corporation engaged

 

1 The Plaintiffs allege unconstitutional actions by Defendant County of Philadelphia and
Defendant Court of Common Pleas of Philadelphia County which have denied Plaintiff
Hatchigian the exercise of his constitutional rights, that their supervision of the
settlement process in the state court action was in a manner as to deprive Hatchigian of
his civil rights under the color of state law and violate clearly established due process
rights belonging to him and guaranteed him under the Constitution of the State of
Pennsylvania and the United States Constitution.

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in the sale and distribution of alr conditioning and heating systems, and was recently
acquired by Watsco, a Florida entity headquartered at 2665 South Bayshore Drive,
Suite 901 Coconut Grove, Florida 33133 U.S.A. Defendant Carrier Corporation is a
Delaware corporation. Until 1990, its principal place of business was located at 6304
Thompson Road, Syracuse, New York 13221, U.SA. in 1990, its corporate “nerve
center” was moved to One Carrier Place Farmington, Connecticut 06032. Contrary to
Carrier's prior Motion to Dismiss the entity called Carrier Global Corporation, based in
Palm Beach Gardens, Florida, is not a party in the instant action. (See Note 2, MOTION
OF DEFENDANT CARRIER CORPORATION TO DISMISS PURSUANT TO FEDERAL
RULE OF CIVIL PROCEDURE 12(b)) (ECF No. 9) (“It should be noted that the
Defendant Carrier Corporation is a Delaware corporation with a principal place of
business in Florida. It is not New York corporation’)

11. This Court also has federal question jurisdiction as to Count V (pled
pursuant to 42 U.S.C. § 1983) requesting prospective declaratory relief as the claims
brought in the state court have yet to be adjudicated and should have been restored to
the civil trial calendar once a conforming settlement release failed to materialize in
accordance with the parties’ prior stipulated settlement and the settlement court’s
explicit instructions.

12. Venue is proper in the Middle District of Pennsylvania under 28 U.S.C. §
1391(b)(1), since Defendants reside in the district; alternatively venue is proper under
Section 1391(b)(2) because a substantial portion of the events or omissions giving rise

to the present claim occurred in the district. See id. at § 1391(b)(2).

lll. THE PARTIES
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13. Plaintiff David Hatchigian and Plaintiff Joan Randazzo are residents of
Havertown, Upper Darby Township, Delaware County, Pennsylvania, United States.

14. Defendant County of Philadelphia is a county of the Commonwealth of
Pennsylvania.

15. Defendant PEIRCE-PHELPS (hereinafter, “Peirce’) is a Delaware
corporation engaged in the sale and distribution of air conditioning and heating systems,
and was recently acquired by Watsco, a Florida entity headquartered at 2665 South
Bayshore Drive, Suite 901 Coconut Grove, Florida 33133 U.S.A.

16. Defendant CARRIER CORPORATION (hereinafter, “Carrier’) is a
Delaware corporation engaged in the designing, engineering, and installation of air-
conditioning and temperature-control systems and is one of the fifty (50) largest HVAC
distributors in the country. Defendant Carrier is incorporated in Delaware and maintains
Its principal place of business at One Carrier Place Farmington, Connecticut 06032

United States.

IV. GENERAL ALLEGATIONS
A. FACTS IN THE UNDERLYING ACTION

17. The Plaintiffs bought the Carrier product litigated in state court, a Carrier
rooftop condensing air conditioning unit, Model 50GL, Serial # 3805041639 (hereinafter
"roof top unit") from HVAC distributor Peirce in 2005. The unit was purchased for the
couple’s personal and household use and warranted to be in good working condition at
the time of Peirce’s 2005 installation in the roof of the Property. See Common Pleas
Complaint, No. 150604314, at 9]&) The mold inducing defect of the air conditioning unit

was not apparent at sale or upon the first two post-installation inspections by the seller.
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(Common Pleas Complaint, No. 150604314, at ff] 12-21). Married Plaintiffs were living
in the ground floor apartment at the time, Hatchigian was the owner-lessor of the
Property, and there were no mold issues anywhere in the Property. (Common Pleas
Complaint, No. 150604314, at {J 12 and {| 20) Ex. 8

18. As recommended by Carrier's Guide to Operating and Maintaining your
Single-Packaged Electric Cooling Unit, Plaintiffs utilized unit for the principal function it
was advertised to perform, regularly replaced the filters in the roof top unit (at least
twice annually from 2005-2013) and maintained the filters in accordance with the
manufacturers specifications and otherwise specifically complied with the use and
maintenance recommendations in Carrier's written warranty. They maintained and
cleaned the unit, including the interior coils and blower wheels, and periodic operational
checks were performed by Plaintiffs, including for thermostat cooling set points. These
checks were performed twice annually, in 2008, 2011, and again in 2013 (Id., at 10),
and in the course of the check in 2013, homeowner Hatchigian discovered mold growth
as well as water damage near and around the roof of the Property. (Id. at 11)
Unbeknownst to Plaintiffs at the time of sale, their formerly mold-free Property would
become temporarily unfit for habitation when the product maifunctioned. Carrier's
product came with drainage components intended to remove liquid condensate and
prevent condensate build-up, but these failed to function, triggering widespread
moisture seepage below the unit in quantities sufficient to cause mold growth. (Id., at §8
and {]42) Carrier's distributor's representation of waterproofness and the unit being
designed for roof top installation and residential use led the Plaintiffs to believe the unit

was suited for normal residential use and nonhazardous; without the represented
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“waterproof” quality of the product Plaintiffs would never have agreed to purchase or
installed the Carrier unit at the Property. (Id. at (8 and 20) Carrier’s product
malfunctioned in the absence of any preexisting defects in the Property's roof, roof
paneling at the installation site or in the flooring or surrounding wall where mold
eventually appeared. The upper floor apartment of the Property was periodically leased
out fo tenant occupants since 2014. During the summer months the HVAC unit drew
humid air into upstairs of the building and spread mold, contaminating the upstairs
apariment (Id, at 14, 119, 934) In June 2015, Plaintiffs’ vacated the Property,
abandoning their apartment and the lease with Plaintiffs, citing water damage and
health concerns due to mold infestation in ductwork, including recurring sinus and
bronchial infections and headaches triggered by the effect of insufficient air return on
airways triggered by the exposure to mold spores. (Id., at 149, 57, 154) Owner-lessor
was left with lost rents and no ability to re-lease.

19. Plaintiff Randazzo and Plaintiff Hatchigian were forced to temporarily
vacate the Property from June to July 2015 during professionat mold remediation.

20. The warranty document only later supplied by Carrier's representative
stated that the roof top unit came with five (5), ten (10) and fifteen (15)-year warranties
from the original installation date. (See copy of “Extended Protection Warranty” from
Carrier Customer Relations response with attachments, dated March 71, 2015, 3:17
p.m.) (CP #150604314, Compl.Ex. 15) The optional filter rack Filler Rack Accessory,
Parts # 99080302 or 99080262 shipped by Peirce Phelps had dimensions that did not fit
the subject unit. (CP #150604314, Compl. Ex.’s 10, 11, 25, 28-29)
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21. After the roof top unit failed in its intended use and showed itself to be
defective and dangerous, Carrier denied the unit was waterproof and dismissed the
results of the seller’s inspection and written confirmation that 100% of the mold at the
Property was directly traceable to the defectively designed HVAC system and the
Carrier unit's inabitity to process condensate or with defective installation, See Elite
Water Damage Restoration, Inc. report (‘“EWDR”) (CP #150604314, Compl. Ex.’s 55-
90)

22. _ A follow-up inspection was conducted HVAC technician Mr. Vagnozzi on
February 27, 2015; as with the initial inspection the sheet metal screws in the unit's
housing were resealed and Vagnozzi verbally warranted no further roof leaks, but the
weather was too cold to spray the unit to check for moisture levels. The third inspection
of the Property and the unit was conducted in July 2015 and the roof leak remained.
Seiler Peirce and the third party EWDR each independently verified that water was
entering Plaintiffs building via the rooftop unit; according to EWDR's inspectors until the
unit was replaced it would continue to generate mold, making the building unfit for
human habitation. The exterior of the Property was damaged by the mold growth.
Plaintiffs lost the use of their home, were subject to the diminution of the value of the
Property and incurred $1,700.00 for professional mold remediation services, additional
costs in contracting fees, labor, materials to renovate to prevent long term mold effects
of the malfunction, and paid out of pocket fees for laboratory testing. Vagnozzi’s
inspection results led to Carrier's offer of settlement led to settlement negotiations. (See
Settlernent Release and Agreement, D.H. vs. Carrier & Pierce-Phelps #150604314), but

Carrier failed to provide any of the warranted repair and no restitution has been
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forthcoming from Peirce or Carrier. Plaintiffs sustained $10,000.00 in profit and rents,
including $2,700.00 in lost rents during mold removal and $1,000.00 to have the HVAC
expert inspect the HVAC system, plus additional sums to pursue the state court action,
bringing the current balance of the Piaintiffs’ out of pocket losses with no offsets or
credits applied, to approximately $30,000.00. None of this outlay was reimbursed by
Carrier or Peirce Phelps. Plaintiffs remain at risk of frequent respiratory infections
Initially caused by mold bacteria.

B. THE UNDERLYING ACTION (“THE STATE COURT ACTION”)

23. The state court action was called to a non -jury trial on Jan. 23, 2017
before the Honorable Gene Cohen. Defendant Carrier did not offer to settle the case
until the eve of trial.

24. Carrier procured Hatchigian’s consent to the $3,000.00 reduced figure by
counsel’s representation to Hatchigian that a limited release would be executed post-
hearing. Before being read into the record, the agreed-upon settlement terms included
delivery of $3,000.00 and submission by Carrier's attorney of a corrected, revised
release in exchange for the dismissal of all of homeowner David Hatchigian’s causes of
action against Defendant Carrier. |

25. The scope of the retease was treated by the trial court as a material term
of the parties May 21, 2018 settlement agreement. See David Hatchigian v. Carrier
Corporation, 150604314, Notes of Testimony, Apr 18, 2017, P5-P6, P9, Lines 25-11:9,

P12, Lines 8-12 (Ex. J).

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26. Carrier inserted a waiver of all of the plaintiff purchaser's rights to
purchase any Carrier product or bring any legal claims in any court connection with
such future purchases. |

27. This language was never legally mandated in the first instance, and Judge
Cohen found it unconscionably broad under the circumstances,

28. Trial Judge Cohen also made it clear to both sides that the court's denial.
of Hatchigian’s pending motion to compel was strictly “contingent” on Carrier submitting

an appropriate version of the release that did not contain this language.

THE COURT: | understand the problem, but we're going to do this, the motion is
denied, contingent upon them preparing an appropriate release that you can
understand, and sign that with an order to seitie and discontinue.

- David Hatchigian v. Carrier Corporation, 150604314, Notes of Testimony, Apr
18, 2017, P 12, Lines 8-12 (Ex. J)

29. Judge Cohen agreed with Hatchigian regarding the propriety of Carrier's
expansive release provision and found no legitimate reason to include the waiver
| language as to future purchases and claims, and ordered that the matter be marked
settled, and the docket entry for Jan. 24, 2017 stated: "SETTLED AFTER
ASSIGNMENT FOR TRIAL. SETTLEMENT PLACED ON RECORD. BY THE COURT:
G. COHEN, J 1/23/17." This entry links to the Trial Worksheet signed by Judge Cohen
and dated Jan. 23, 2017, which was entered into the docket on Jan. 24, 3017. The
docket for Jan. 24, 2017 also reflects that Rule 236 notice was given on that date. At
no point during the Jan. 23, 2017 settlement conference did counsel give any indication
that Carrier's attorney would simply re-introduce language rejected by Judge Cohen
when memorializing the settlement release. Once the Settlement Agreement had been
read into the record with both sides and their respective counsel present, counsel for

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Carrier verbally re-confirmed the material caveat that the release terms would be
reduced to a new writing that omitted the overbroad prohibitive language as to future
purchases and claims.

30. Defendant Carrier then breached the Settlement Agreement by unilaterally
modifying the mutual release recorded on Jan. 23, 2017 and including the language
rejected by Judge Cohen, i.e., the memorialized release document presented to Plaintiff
for signature post-hearing contained the unconscionably broad waiver of future rights,
and the promised memorialization was never presented for Plaintiffs signature.

31. Afterwards, the Common Pleas Court and Philadelphia County approved
settlement counsel's purposefully waiting till after Trial Judge Cohen’s Jan. 23, 2017
settlement hearing to submit the nonconforming version of their release to Plaintiff as a
condition of payment/settlement enforcement.

32. The document generated post-hearing violated the trial court's explicit
guidance to omit all general language of waiver as to all future purchases and claims in
relation to Carrier products.

33.  Atno point did Hatchigian acquiesce in Carrier's unauthorized, ad hoc
modification or counsel's bad faith engagement in the settlement process. As was
known to Defendant Carrier and its settlement counsel, consumer Hatchigian had never
bargained for or agreed to a release of unlimited scope.

34. Carrier was at all times on notice when participating in the underlying
settlement process, that the opposing party was neither willing nor required to sign such
a waiver as a matter of law but he writing submitted to Plaintiff after Jan. 23, 2017

materially departed from the agreed-upon terms of settlement in a manner to

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contravene the judge's finding that precluding plaintiff from purchasing future Carrier
products or bringing a future claim in relation to any future purchase was
unconscionably broad.

35. When Carrier continued its attempts to procure his signature on the
broader version of the settlement by withholding the settiement check, Hatchigian
moved to invatidate the settlement and restore the case to the trial calendar. (Ex. E)
There was a hearing before the trial judge on the motion, which Carrier's attorney
attended and refused to perform the Settlement Contract because Hatchigian was being
unreasonable and should be forced to sign any release offered. (Ex. F) Plaintiff moved
for a rehearing on the propriety of Carrier's written release by appealing the order
denying the motion. (Ex, G), which was denied on July 5, 2017 (Ex. I)

36. Based on Counsel's settlement conduct, the nonconforming release was
never made a part of the Settlement Agreement recorded on Jan. 23, 2017 as a matter
of law, yet the defendant Court and the defendant County ignored settlement counsel's
misrepresentations regarding the bargained-for settlement release when denying him
relief on the Motion to invalidate; Philadelphia Common Pleas not only approved
counsel's lack of candor when presenting the nonconforming release and informing him
that it was in his best interests to execute it, but upheld this conduct upon Plaintiff's
motion and in subsequent appeals; the County was at all times noticed of the fact that
its supervision of the underlying settlement would insure Plaintiff Hatchigian received
neither a jury trial on the merits nor the benefit of a standard settlement process.

37. Ata minimum, settlement counsel's departure from the release terms

represented by counsel to the court on Jan. 23rd_ raised the issue of settlement validity

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and a question of iaw whether the Settlement Agreement became law of the case. See
in re Estate of Riddle (Pa. Super. Ct., 2018) (Due to ambiguities and undetermined
matters which rendered the settlement agreement impossible to understand and
enforce, the agreement was not the law of the case and was properly set aside.)

38. | Upon ruling on settlement validity and dismissing Plaintiff's appeals, the
Defendant County of Philadelphia failed to restore Hatchigian’s matter to the civil
docket, and Plaintiff Hatchigian was deprived of a day in court on his still-disputed

claims as a result.

COUNT
BREACH OF SETTLEMENT

{Against Defendant Carrier Corporation)

39. The allegations of Paragraphs 1 to 46 are incorporated herein as if re-

 

alleged in full.

40. Plaintiff David Hatchigian and Defendant Carrier entered into a Settlement
Agreement that was fully executed by all parties and their respective counsel no later
than on or about Jan. 23, 2017.

41. Pursuant to the terms of the Settlement Agreement, Defendant Carrier
was required to deliver $3,000.00 and provide a corrected copy of the release document
in exchange for the dismissal of all of homeowner Hatchigian’s causes of action against
Carrier.

42. Plaintiff Hatchigian performed all materia! conditions, covenants and
promises required to be performed on his part in accordance with the terms and

conditions of the Settlement Agreement.

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43, Defendant Carrier intentionally and materially breached the Setttement
Agreement by withholding payment and making performance contingent on his
execution of a release that materially deviated from the settlement terms mutually
recorded in the presence of Judge Cohen on Jan. 23, 2017.

44. Defendant Carrier’s breach of the Settlement Agreement constitutes
action taken by Defendant intentionally and in bad faith.

45. These actions have caused Plaintiff unnecessary damage and expense
including, without limitation, the necessity for pre-litigation efforts to obtain Defendant's
compliance with the terms of the Settlement Agreement and the bringing of suiccessive
appeals as well as the instant action to obtain durable relief from Defendant's fraudulent
and deceptive settlement practices.

46. Defendant Carrier has not cured its material breaches of the Settlement
Agreement, and said breaches have caused further damages to Plaintiffs, including,
without limitation, the damages on his claims against Carrier in Case No. 150604314,
$3,000.00 in foregone settlement funds, Plaintiffs’ foreseeable, consequential damages
including attorneys’ fees, tegal research costs and expenses for litigation which was to
be resolved by the settlement.

47.  Asadirect result of Carrier's breach of the Settlement Agreement,
Plaintiffs have now incurred foregone damages and settlement proceeds well in excess
of $30,000.

48. None of this additional outlay of resources and expenses was incurred by

Plaintiff if Defendant had simply complied with the Settlement Agreement.

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49. Asa direct result of Defendant County of Philadelphia's total failure to cure
its oversight when deciding Plaintiff's Motion to invalidate and/or when granting
Hatchigian’s appeals of the release issue, Hatchigian was deprived of due process and
the exercise of constitutional rights guaranteed him under the Constitution of the State
of Pennsylvania and the United States Constitution.

50. _ In addition, Plaintiffs herein are entitled to an award of damages for
Defendants’ breach, including consequential and special damages in the form of
attorneys’ fees, costs and expenses, together with interest on all the damages that have

accrued, both before and after judgment.

COUNT ii

VIOLATION OF THE UNITED STATES CONSTITUTION - FOURTEENTH
AMENDMENT: DUE PROCESS

(Defendants Philadeiphia County and Court of Common Pleas of Philadelphia

51. The allegations of Paragraphs 1-58 are incorporated herein as if re-

 

 

alleged in full.

52. When denying Hatchigian's Motion to Invalidate and subsequent appeals,
the Defendant County of Philadelphia disregarded that civil actions are due to restored
in the event settlements fail to materialize in the manner herein complained of.

53. Denying Plaintiff Hatchigian’s motion to invalidate and subsequent
appeals of the release issue without restoring his case to the Jury Trial Calendar also
deprived Mr. Hatchigian of the jury trial he paid the County for, violating notions of

‘fundamental fairness’ inherent in the concept of due process.

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54. The Due Process Clause of the Fourteenth Amendment to the United
States Constitution prohibits states from depriving its citizens of fundamental rights
without due process of law.

55. As materially revised after the fact by Carrier’s counsel with the approval
of defendant County and the defendant Court, the Settlement Agreement infringed on
the due process rights of the purchaser/ consumer under the federal Constitution.

56. —_ In the underlying action Carrier's fraud on the court was facilitated by the
Defendant County and the Defendant Court when exercising their supervisory authority
over the settlement in a manner that would inevitably result in a one-sided settlement
process.

57. The resuitant settlement process has now infringed Plaintiffs’ rights under
the substantive and procedural prongs of the Due Process Clause.

58. Due to Carrier's unilateral breach of the recorded settlement terms and ad
hoc settlement conduct, Hatchigian was deprived ofa trial on the merits of his claims.

59. The right to judicial proceedings is a fundamental right, and laws that
infringe on that right are subject to strict sorutiny. See Zablocki v. Redhail, 434 U.S. 374,
388 (1978). "To survive strict scrutiny, a state must do more than assert a compelling
state interest-it must demonstrate that the law is necessary to serve the asserted
interest." Burson v. Freeman, 504 u.s. 191, 199-200 (1992).

60. __ In addition, neither the County of Philadelphia nor the Common Pleas
Court have any compelling state interest in enforcing contracts of adhesion like the
settlement agreement here. Whereas Settlements are to be encouraged it nevertheless

offends due process if a settling party's unilateral acts could bind the other party without

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notice and an opportunity to be heard. Jennings v. United States, 374 F.2d 983, 986
(4th Cir.1967). "Deciding whether to try a case to judgment or to settle it involves
elements of legal evaluation, of financial capacity to take risk, and of appetite for court
room conflict which vary widely among litigants." Whisenant v. Brewster-Barlle Offshore
Co., 446 F.2d 394, 402 (5th Cir.1971) (quoting Tankrederiet Gefion A/S v. Hyman-
Michaels Co., 406 F.2d 1039, 1043-44 (6th Cir.1969)). Established doctrine provides
a framework for resolving the conflict between the policies of encouraging settlements
on one hand and protecting the interests of the settling patties on the other. It remains
a strong, prevailing public policy in Pennsylvania to encourage voluntary settlements.
See Taylor v. Solberg, 566 Pa. 150, 157-58, 778 A.2d 664, 667 (2001). The Supreme
Court of the United States has recognized that “We need not, indeed we cannot, draw a
mathematical bright line between the constitutionally acceptable and the constitutionally
unacceptable that would fit every case. We can say, however, that a general concern of
reasonableness ... properly enters into the constitutional calculus.’ " Pacific Mutual Life
Ins. Co. v. Haslip, 499 U.S. 1, 18, 111 S.Ct. 1032 1043, 113 L.Ed.2d 4 (1991).

61. Therefore, the Plaintiffs respectfully request this Court's declaration that
the current settlement practice of the County of Philadelphia as hereinabove alleged
constitutes a violation of a plaintiff's substantive and procedural due process rights
under the Fourteenth Amendment of the United States Constitution.

62. | This Count seeks a declaration that the County of Philadelphia by (i)
upholding the underlying Settlement Agreement despite Carrier's bad faith conduct of
the settlement process (Ii) while denying Hatchigian any ability to enforce the Settlement

Agreement as stipulated to and (iii) failing to restore the case to the civil trial docket

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thereafter - - has unlawfully deprived plaintiff Hatchigian of his due process rights as

guaranteed him under the United States Constitution. 42 Pa. C.S. § 7532.

COUNT Ill
VIOLATION OF THE PENNSYLVANIA CONSTITUTION -

(Defendants Philadelphia County and Philadelphia Court of Common Pleas)
63. The allegations of Paragraphs 1-79 are incorporated herein as if re-

alleged in full.
64. = Article |, §6 and §11 of the Pennsyivania Constitution recognize a right to

judicial proceedings states, in pertinent part:

§6. Trial by jury.

Trial by jury shall be as heretofore, and the right thereof remain inviolate. The General
Assembly may provide, however, by law, that a verdict may be rendered by not less
than five-sixths of the jury in any civil case.

§11. Courts to be open; suits against the Commonwealth. All courts shall be open;
and every man for an injury done him in his lands, goods, person or reputation shall
have remedy by due course of law, and right and justice administered without sale,

denial or delay.

65. Defendant Carrier's settlement conduct in the state court was motivated
by Plaintiff Hatchigian's attempt to exercise his constitutional rights as guaranteed him
under the Constitution of the State of Pennsylvania and the United States Constitution.
At the same time, the Defendant County has allowed Carrier and its settlement counsel
to violate the judicially approved Settlement Agreement with impunity. Its permission

was granted based on ne more than Carrier's ad hoc request for release execution,

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even after the release submitted deviated from the scope of the release agreed upon on
Jan. 23, 2017.

66. As Carrier and counsel intended throughout the settlement process, the
memorialized release term of the Settlement Agreement was nonconforming and
departed from the Jan. 23, 2017 recording, but the County and the Court failed to detect
the rejected waiver language and the impropriety of the Carrier's settlement conduct
was compounded when denying relief upon Hatchigian's motions, dismissing each
appeal of the issue and subsequently failing to restore the action to the civil trial docket.

67. | When reviewing whether a state action unconstitutionally deprives a
person of a protected interest, a substantive due process inquiry balances "the rights of
the parties involved subject to the public interests sought to be protected.” Johnson v.
Allegheny Intermediate Unit, 59 A.3d 10,20 (Pa. Cmwith. 2012).

68. The County's existing, frequent practice (of failing to prevent or sanction
the settlement conduct engaged in by Defendant Carrier's settlement attorney, while
denying the consumers the ability to enforce or set aside the settlement, and then failing
to restore litigation the civil jury trial docket once a conforming settlement release fails to
materialize) has effectively exposed Pennsyivania state court plaintiffs including David
Hatchigian, to the unchecked malfeasance of corporation counsel and deprived him of

due process on his fegal claims.

COUNT IV

VIOLATIONS of 42 U.S.C. § 1983 PROSPECTIVE INJUNCTIVE RELIEF
Defendants Philadelphia County and Philadelphia Court of Common Pleas)

   

69. The allegations of the Paragraphs 1-76 are incorporated herein as if re-

alleged in full.
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70. This count is for the above violations of Plaintiff Hatchigian’s civil rights
actionable under 42 USC §1983 that occurred after Plaintiff brought an action in
Philadelphia Country Common Pleas Court.

71. There is a reasonable probability of irreparable future injury to the plaintiffs
if Defendants are not enjoined from continuing the alleged settlement practices and
procedures in the future.

72. The plaintiffs will suffer irreparable injury unless the injunction issues.

73. — The injury to the plaintiffs outweighs whatever damage the injunction may

cause defendants.

COUNTY
DECLARATORY JUDGMENT

74, The allegations of the Paragraphs 1-81 are incorporated herein as if re-
alleged in full.

75. Plaintiffs were initially damaged by Defendant Carrier's breach of
settlement, breaches of warranty as to the defectively designed goods, and refusal to
address their mold-related damages claim despite actual notice of the recurring defect
when the goods were placed on the market.

76. —_ Later, Carrier's bad faith settlement conduct in the state court action and
the Count of Philadelphia’s lack of oversight resulted in Plaintiff being denied a day in
court on the claims he brought in the state court.

77. To prevent this total denial of due process, Plaintiff seeks a judgment from
the Court declaring that the parties’ settlement is hereby voided and that the state court

action is hereby reinstated. 42 Pa. C.S. § 7532 and declaring that by denying

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Hatchigian’s timely attempts to obtain a rehearing on the release issue or enforce/set
aside the Settiernent Agreement, the County of Philadelphia ultimately deprived
Hatchigian of a day in court on his claims in the state court action, violating notions of
‘fundamental fairness’ inherent in the concept of due process as defined by the

Constitution of the State of Pennsylvania and the United States Constitution.

COUNT Vi through COUNT Xi

[Incorporating by reference Counts | - Vin the State Court Action (CP Case No.
150604314)

78. The allegations of the above paragraphs are incorporated herein as if re-
‘ alleged in full.

79. In addition, Plaintiffs incorporate by reference Counts | through V of the
Complaint originally filed by Plaintiff Hatchigian in the state court action [See Compiaint,
Common Pleas #150604314, filed Sept. 20, 2015)] These counts are re-alleged as if
restated verbatim herein as Counts VI-XI of this Amended Complaint.

80. Upon further information and belief, Defendant Carrier has placed funds in
reserve to deal with future losses arising from similar consumer claims stemming from
the “repair and replace” procedures alleged in Counts VI through XI. Regardless of the
reservation of such funds, Carrier may not rely on product warranty terms purporting to
exclude ail liability for undisclosed out of pocket fees for replacement labor as well as
for purchaser's mold remediation charges and mold-related diagnostic laboratory
testing, none of which are consequential or “incidental” to Plaintiffs original purchase

and/or normal product use under state warranty law. Plaintiffs are entitled to recover

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their statutory costs and reasonable and necessary attorneys’ fees in the state court

action including those incurred as a resuit of trial and/or prosecuting or defending an

appeal up to the Supreme Court, and all costs of court.

A)

B)
C)

D)

JURY DEMAND

The Plaintiffs demand a trial by jury on all issues.

ATTORNEYS’ FEES AND COSTS

The Plaintiffs demand reasonable attorney's fee and costs of suit. 2

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request judgment against Defendants, as
follows:

Declaring that the Jan 23, 2017 Settlement Agreement is unconstitutional and
therefore void, that enforcement of its terms is enjoined. 42 Pa. C.S. § 7532,
and that CP Case No.150604314 is hereby reinstated and remanded for a
trial on the merits in the Philadelphia Court of Common Pleas:

Restraining Defendant Carrier Corporation from continuing to market, sell or
distribute the subject mold-inducing roof top unit;

Declaring pursuant to 42 Pa. C.S. § 7532 that Defendant Carrier Corporation
and the County of Philadelphia have unlawfully deprived David Hatchigian of
procedural and substantive due process guaranteed him under the United
States Constitution and Article | of the Pennsylvania Constitution;

Awarding exemplary damages for willful acts deemed to have been
performed with malice, and/or gross negligence, in the amount of Fifty
Thousand Dollars ($50,000.00) and actual damages suffered by the Plaintiffs
due to the conduct hereinabove. described, for the Sum Certain of Thirty
Thousand Dollars ($30,000.00), together with prejudgment interest thereon;
Awarding Plaintiffs’ costs, expenses and attorneys’ fees; and

Granting such other and further relief as this Court may deem appropriate.
For Sum Certain of Seventy Five Thousand Dollars ($75k)

Dated: December 18, 2020

 

? See U.S. Claims, Inc. v. Dougherty, 914 A.2d 874 (Pa. Super. Ct., 2006) (concluding plaintiff
was entitled to attorney's fees, costs and damages for delay under Pa.R.A.P. 2744 although
proceeding pro se.); Pickholtz v. Rainbow Technologies, Inc., 284 F.3d 1365, 62 USPQ2d 1340
(Fed. Cir. 2002) (awarding the pro se equivalent of attorney’s fees where counsel’s conduct in
the underlying state court action was vexatious and unreasonable)

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Respectfully submitted,
David Hatchigian

DAVID HATCHIGIAN,
PLAINTIFF PRO SE
Joan Randazze.

 

 

JOAN RANDAZZO,
PLAINTIFF PRO SE

December 18, 2020

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CERTIFICATE OF SERVICE

| hereby certify that a true and correct copy of the foregoing instrument has been
served upon the Attorney of Record of all parties to the above captioned case in
accordance with Pennsylvania Rules of Civil Procedure on this 20 day of December,
2020 by the following:

Via U.S.P.S 3817:
MARSHALL, DENNEHEY, WARNER, COLMAN GOGGIN
CAROLYN M. SCHWEIZER, ESQUIRE
2000 Market Street,
Philadelphia Pa. 19103
215-575-4569 fax 215-575-0856
cmschweizer@mdweg.com
JAMES F, RYAN ESQUIRE
SCHWABENLAND & RYAN, P.C.
995 Old Eagle School Road
Suite 306
Wayne Pa. 19087
ifryan@ifryanlaw.com
CITY OF PHILADELPHIA LAW DEPARTMENT
CLAIMS COORDINATOR, CLAIMS UNIT
ONE PARKWAY BUILDING,
1515 ARCH STREET,
14T FLOOR,
PHILADELPHIA PA. 19102-1595
215-683-5410

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Exhibit "B"
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DAYID HATCHIGIAN

2414 TOWNSHIP LINE ROAD
HAVERTOWN PA, 19083
610-446-7257

VS

CARRIER CORPORATION

P.O. BOX 4808, CARRIER PARKWAY
SYRACUSE, NY. 13221

PEIRCE -PHELPS

JOSEPH P, VAGNO2ZZ1

316 EAST TOWNSHIP LINE ROAD
BLUE BELL, PA. 19422

 
   

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NO. 150604314

JURY TRIAL DEMAND

NOTICE TO DEFEND

NOTICE

You have been sued in court, If you wish to defend against the
élaims set forth in the follawing pages, you tnust take action within

twenty (20) days after this complaint and fotice are served, by .

entering a written appearance personally or by attorney and filing
in writing with the court your defenses or objections to the claims
set forth against you, You are warned that if you fail to do so the
case may proceed without you and a judgment may be entered
against you by the court without further notice for any money
elaimed jn the complaiat of for any other claim or relief requested
by the plaintiff. You may lose money or property or other rights
important to you.

You should take this paper to your lawyer at once. If you do not have
a lawyer or cannot afford one, go to or telephone the office set forth
below ta find out where you can get legat hel,

Phitadelphia Bar Association
Lawyer Referral
aud Information Service
Oue Reading Center
Philadelphia, Pennaylvanig 19107
(215) 238-6333
TTY (215) 451-6197

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AVISO

Le han demandado a usted en la corte, Si usted quicre
defenderse de estas demandas expuestas en las paginas
sigulentes, usted tiene velote (20) dlas de pleze al partir de
la fecha de la demanda y la notifiegcion. Hace falta
ascentar una comparencia escrita o en persona 0 con un
abogado y entregar a ta corte en forma escrita sus
defeniaas o sus objeciones a las demandas en contra de su
Persona. Sen avisado que si usted no se defiende, la corte
fomara medidas y puede continuar la demande en contra
suya ain previo avise o notificacion, Ademasa, la corte
puede decider a favor de) demandante y requiere que
usted cumpla con todas las provisiones de esta demanda,
Usted puede perder dinero o sus propledades u otres
derechos importantes para usted.

Lieve exia demanda a un abogado lmmediatamente. St no
dene abogade o si no tlene el dinero suficlente de pager tal
servicio, Vaya ent persona o tlame por telefono a ia oficina
cuya direccion $e encuentra eserita abajo para averiguer
donde se puede conseguir asistencia legal.

Asociacion De Licenciados
De Fiiadeliia
Serviclo De Referencla E
{nformacion Legal
One Reading Center
Filadelfla, Pennsylvania 191.07
(215) 238-6333
TYY (215) 451-6197

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IN THE COURT OF PHILADELPHIA COMMON PLEAS-CIVIL

DAVID HATCHIGIAN, JULY TERM 2015
Plaintiff, . NO. 150604314

vs.

CARRIER CORPORATION AND

PEIRCE-PHELPS,

Defendants.

COMPLAINT

 

Plaintiff DAVID HATCHIGIAN, files this complaint against the Defendants, CARRIER
CORPORATION and PEIRCE-PHELPS (“Defendants”), seeking damages, attorney’s fees and
exemplary damages, against the Defendants, for Breach of Contract (Count I); Negligent Design
(Count II); Breach of Implied Warranty of Fitness for a Particular Purpose (Count III); Violation
of the Magnuson-Moss Warranty Act (Count [V); Breach of Warranty and Violations of Article

2 of the Uniform Commercial Code (Count V), and in support thereof respectfully alleges as

follows:

PARTIES

 

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1, Plaintiff David Hatchigian (hereinafter, “Piaintiff’) resides in Havertown Township,

Delaware County, Pennsylvania, United States.

2. Defendant Peirce-Phelps (hereinafter, “Peirce-Phelps) is a Delaware corporation
engaged in the distribution of air conditioning and heating systems, (Plaintiff reserves his right

to update the caption with the correct entity information.)

3. Defendant Carrier (hereinafter, “Cartier”) is a Delaware corporation licensed to do
business in Pennsylvania and engaged in the designing, engineering, and installation of ait-
conditioning and temperature-control systems and one of the fifty largest HVAC distributors in
the country. Its parent corporation, UTC Building & Industrial Systems, a unit of United
Technologies Corp., is the world’s largest high-technology building systems provider and a
leading supplier to the aerospace and building systems industries worldwide. (Plaintiff reserves

his right to update the caption with the correct entity information.)
FACT ALLEGATIONS

4. Plaintiff, a citizen and resident of Pennsylvania, purchased a Carrier rooftop
condensing unit air conditioner Model number # 50GL, Serial # 3805G41639 ("roof top unit")
from Peirce-Phelps in 2005, Defendant Peirce-Phelps is a wholesale vendor of Carrier air
conditioning systems in commercial, industrial, public, and residential buildings and sells Carrier
products. The roof top unit was purchased by exclusively for use at the apartment building @
7512 Brentwood Road, Philadelphia, PA 19151 (“Property”). Plaintiff was owner-lessor as of

the Property, which was leased to tenants at the time the roof top unit was installed.

5. Defendant Carrier is the designer, manufacturer, marketer and seller of the roof top

unit sold to Plaintiff.

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6. Plaintiff was not provided with a copy of Carrier’s warranties prior to or ai the time of

the sale of the roof top unit.

7. Defendant Carrier later provided a warranty document indicating that the roof top unit
came with five, ten and fifteen -year warranties from the original installation date, (See Ex.15-
{6, Cartier Customer Relations Request response email with attachment, dated March 1 1, 2015

to Plaintiff.)

8, The roof top unit was verbally warranted to be in good working condition and
waterproof at the time of installation and contained drainage components intended to remove

liquid condensate and prevent condensate build-up. (See Ex. 28-53)

9, Prior to contacting Carrier, Plaintiff regularly replaced the filters at least twice

annually and kept the indoor coils and blower wheels clean.

10. Operational checks on the roof top unit including checks for thermostat cooling

set points were performed at least twice annually, in 2008, 2011, 2013.

1]. In one such property inspection in 2013, Plaintiff discovered the unit had stopped

properly functioning and triggered extensive mold damage throughout the property.

12. As there was no mold anywhere at the property prior to 2013, Plaintiff immediately
contacted Defendant Carrier-Peirce Phillips and authorized entry onto his property by their

representative, Joseph Vagnozzi. See Ex. 25
13, Joseph Vagnozzi was not the individual who conducted the 2005 sale.

14, He personally visited the site on September 26, 2013. See Ex, 25

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15. He visited the site again on February 27, 2015 and later confirmed the conditjon of

- the leaking unit. See Ex. 11

16, After completing an inspection of the entire air conditioner as installed and sealing
the sheet metal screws in the unit’s housing, Mr, Vagnozzi verbally represented that the unit was

properly installed at a level pitch and warranted to Plaintiff that the unit would not cause further

roof leaks. See Ex. §5-57

17, Vagnozzi did not flood the roof surrounding the unit, spray the exposed surfaces or

make any adjustments to minimize condensate accumulation during his visits to the site to

inspect the unit.

18. Shortly thereafter, the unit commenced leaking again, causing further mold damage to

the property. See Ex.58-90

19, Due to the mold problem, all of Plaintiff's tenants were unable to continue occupying
the apartment safely and were compelled to vacate due to mold-related health issues in June of
2015, causing an immediate loss of rents to Plaintiff as Plaintiff could not afford to rectify the air _

conditioning malfunction.

20. There was no mold prior to installation. 100% of the mold that ultimately had to be
removed from 7512 Brentwood Road was attributable to the malfunctioning of Defendants' roof
top unit. Plaintiff sent the bill to the manufacturer in order to recover the replacement cost, in
response to which Carrier’s agent refused and - notwithstanding the unit had been designed for

roof installation — denied guarantying that the unit was waterproof. See Ex, 5

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21, To date, Joseph Vagnozzio at Peirce Phillips and Elite Water Damage Restoration,
Inc. (EWDR”) have each independently verified that water is entering Plaintiff's building

through the roof top unit. See Ex. 55-90

22, Additionally, EWDR has confirmed that until the unit is replaced in building it will

continue fo make mold rendering the dwelling unfit for human habitation.

23. Neither of the two apartments is rentable at the present time, directly due to the

property damage and mold contamination that were the consequence of installing Defendants’

unit, (See Ex, 55-90.)

24, To date, Plaintiff has paid $2,000 on account of the contract price. See Ex. 58, 91-
95 attached to this complaint. An additional $15,000 is due for materials and labor and $ 10,000
for loss of profit. See .Ex. 5. The estimated out of pocket cost of labor and materials, other
costs expended to rectify the air conditioning unit plus lost profit total over $25,000, See Ex, 61
(Plaintiffs Statement of Claim to insurer), Additionally, Plaintiff can show at tria! that labor and
materials furnished in the additional amount of $25,000 leaving a balance owing of $25,000 with
no credits to date paid by either Defendant, Peirce-Phelps has refused to reimburse any of these

expenses to address the property damage and lost rents due to the malfunctioning unit.

25. Defendants cannot lawfully rely on warranty terms purporting to exclude liability for

damages such as replacement labor costs,

26, In their dealings with the Plaintiff, Defendants have violated the federal Magnuson-
Moss Warranty Act and state consumer protection law, and Plaintiff owner brings this claim in

order to vindicate his own rights and those of owners and consumers nationwide.

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COUNT I
BREACH OF CONTRACT

(Against Defendant Peirce-Phelps)

27, The allegations of the above paragraphs are incorporated herein as if re-alleged in

 

full,

28. In January 2005, the Defendants entered into a contract with Plaintiff to sell a rooftop
air conditioning unit (Carrier, MODEL #50GL, SERIAL #H3805641639), including, but not
limited to inspecting, servicing, maintaining and cleaning of the unit after the sale. A copy of the

essential terms breached by defendants are attached to this Complaint. (See Ex,3,4,5,6, 12,13)

29, In exchange for the purchase price of $1,428.00 paid by Plaintiff, Defendants

promised delivery of a working roof top unit in good working condition,

30. Subsequently, distributor Peirce Phelps warranted post-sale repair services to address

unit Jeaks.

31, Defendant Peirce Phelps’ post-installation warranty service work was not effective to

stop the leaks and consequential property damage.

32, The defective roof top unit has caused the ceiling at the Property to collapse from unit
leakage, creating mold to form along the roof paneling to contaminate the residential living space

below. (See Ex.’58-90),

33. There also an implied warranty that the system would perform all of the basic

functions it purported to provide, which was breached once the system did not work properly,

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34. Defendant's violation of the agreement to repair or replace the unit to conform to
Defendant’s marketing specifications resulted in extensive property damage and. exposed
Plaintiff's tenants to physical injury in the form of conditions including a range of lung disorders,

asthma, and infections of the lung, entitling Plaintiff Hatchigian to economic losses.

35. Additionally, Plaintiff seeks damages for property damage not merely purely

economic loss from the defendants’ breach of contract.

COUNT I
NEGLIGENT DESIGN

(Against Defendant Carrier)

36. The allegations of the above paragraphs are incorporated herein as if re-alleged in

full,

37. The roof top unit was defective in design in that the foreseeable risks could have been
reduced or avoided by the use of a reasonable alternative design, The failure to utilize such a

design caused the product to be unreasonably hazardous, causing mold to form on large surfaces

of the property.

38. The damage to Plaintiff's property resulting from condensate leaks generated by

Carrier’s unit was foreseeable,

39, Carrier’s design of the roof top unit caused condensate discharged onto Plaintiff's
apartment’s ceilings. Upon sale, neither Carrier nor its distributor Peirce-Phelps represented that

the roof top unit would stop functioning in the presence of precipitation, rainfall or snowfall,

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40, Manufacturers must provide electrical knockouts for power and control wiring in an
area of the unit that is protected from rain exposure. The outdoor portion of the roof top unit are
not compatible with standard electrical wiring systems in that rainwater escaped into the space

below the unit in large quantities to cause significant damage the property.

41. Defendant Carrier did not disclose that an excess of water entering its roof top unit by
way of wind driven rain would be driven into the unit by the unit’s blower, causing wet

insulation within the unit and severe damage to the space below the roof.

42. The roof top unit could have been designed with drainage components and
mechanisms to control carryover moisture, coil icing, variable refrigerant pressure and/or

reduced coil load in conformity with the prevailing acceptable standards in the air conditioning

industry.

43. Carrier’s designers would have been aware that rainfall can trigger periods of 100%
outdoor humidity and that, the higher the outdoor humidity, the larger the condensate volume the

unit will pull from the air and the higher the condensate load on the unit.

44, A national manufacturer of temperature control systems would also have been aware

and foreseen that condensate leaks can often occur during periods of extremely high humidity.

45. Carrier’s designers failed to modulate unit air flow and were aware that their

defective design risked mold damage from water condensation and resulting leakage.
46, The manufacturer's specified air flow volume were exceeded for the existing coil,

| 47, Alternative feasible designs existed that would not have caused property damage and

personal injuries,

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48. Defendants acted negligently in otherwise failing to use due care and skill under the

circumstances in ways which may be further disclosed during the course of discovery.

49. Defendants’ negligence exposed Plaintiff's tenants to physical injury in the form of
conditions including a range of lung disorders, lung infection, asthma and related conditions,

entitling Plaintiff Hatchigian to economic losses.

50. As a result of Defendants! negligence, Plaintiff has incurred extensive property

damage.

COUNT Iii
BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE

(Against All Defendants)

51. The allegations of the above paragraphs are incorporated herein as if re-alleged in

full.

52. Defendants knew, or reasonably should have known that its roof top unit would be

principally utilized for air conditioning.

53. Defendant Peirce-Phelps failed to make certain that drainage lines had the appropriate

pitch.

34. Defendant Carrier was aware that carry-over moisture could occur at air velocities

lower/higher than the threshold set by the manufacturer.

55, Defendant Carrier was aware that roof top units must operate below their maximum

rated airflow and that defective equipment could impede the flow of condensate.

Case ID: 150604314

 
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56, Defendants acted negligently in otherwise failing to use due care and skill under the

circumstances in ways which may be further disclosed during the course of discovery.

57. Defendants’ negligence in designing and servicing the unit has resulted in extensive
property damage and exposed tenants to physical injury in the form of conditions including
infections of the lung, asthma and other preventable medical conditions entitling Plaintiff

Hatchigian to economic losses.

58, Defendants knew, or reasonably should have known, Hatchigian would not be the

first or only user-purchaser to use the roof top unit as an air conditioner under conditions of

rainfall, one of the purposes for which it was sold to consumers.

59, Plaintiff at all times utilized the unit for the primary function it was advertised to

perform.

60. Defendants warranted the unit’s fitness for the purpose for which it was sold and

reasonable workmanship,

61. Defendants impliedly warranted that the roof top unit was fit for the purpose for
which it was sold to Plaintiff and was not negligently marketed, negligently constructed or

negligently designed.

62. Defendants impliedly warranted their roof top unit would not be defective so as to
leak to the extent surrounding roofing material would be caused to collapse, rot and contaminate

living spaces of the property.
63, The warranty of fitness of the product for use as an air conditioner was implied in law
and existed independent of any representations by the Defendants or Defendants’ agents,

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Case ID: 150604314
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64, Defendants impliedly warranted proper installation would not cause property damage

and cause physical injuries to Plaintiffs tenants,

65, Such warranties arose by operation of law, independent of any contractual

representations.
66. Any implied warranties extended to Plaintiff and Plaintiffs tenants.

COUNT IV
VIOLATION OF MAGNUSON-MOSS WARRANTY ACT

(Against All Defendants)

67, The allegations of the above paragraphs are incorporated herein as if re-alleged in

full.

68. The federal Magnuson-Moss Warranty Act (“Magnuson-Moss”), 15 U.S.C. §§ 2301-

2312, is a consumer protection regime designed to supplement state warranty Jaw.

69. Magnuson-Moss provides a cause of action for breach of warranty. 15 U.S.C. §

231 0(d)(1).

70. Defendants breached their warranty to provide goods that are free from defects, and

Plaintiff suffered and continues to suffer damages as a result of Defendants! breach.

71, Defendants’ written warranties contain terms purportedly limiting Defendants’
liability relative to defective products to replacement of the product or refund for the purchase
price of the product, at Defendants’ option. These terms appear in the same font as the rest of the

terms of the warraaty, they are not bolded, and they are not printed in a contrasting color. In

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short, they are inconspicuous, and that lack of conspicuousness violates Magnuson-Moss, 15

U.S.C. § 2302{a), 15 U.S.C. § 2304{a)(3). (See Extended Protection Limited Warranty, Ex. 16)

72. In addition, Defendants' written warranties purport explicitly to exclude liability for
consequential and incidental damages, including for the costs of shipping and labor. Where
these terms purport to exclude liability for consequential damages, they fail to meet “the Federal
minimum standards for warranty, and, accordingly, they are not enforceable, See 15 U.S.C. §

2304{a}(3). (See Extended Protection Limited Warranty, Ex. 16 )

73. To the extent Defendants' written warranties purport to disclaim the implied
warranties of merchantability and fitness for a particular purpose, these disclaimers are

ineffective pursuant to 15 U.S.C. § 2308{a) and (c). (See Extended Protection Limited Warranty,

Ex, 16)

74. To the extent the above warranty terms effectively purport to exclude liability for
consequential damages, they fail to meet “the Federal minimum standards for warranty, and,

accordingly, they are not enforceable. See 15 U.S.C, § 2304(a)Q3).

75, In addition, Plaintiff does not recall receiving a written warranty document before, at,
or around the time that the product was purchased. Plaintiff also does not recall having seen any

copies of the warranty documents displayed at the wholesale warehouse where the produce was

purchased,

76, Upon information and belief, at the time the purported warranties were issued,
Defendants knew that they had not corrected the manufacturing processes that led to litigation
with respect to the defective roof top unit, therefore their disclaimers are unconscionable because
they disclaimed a defect known but not disclosed.

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Case ID: 150604314
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77, Defendants' acts and omissions in violation of Magnuson-Moss are “[u]nfair methods
of competition in or affecting commerce, and unfair or deceptive acts or practices in or affecting

commerce,” and, accordingly, they are unlawful. 15 U.S.C. § 2310(b), 15 U.S.C. § 45(a}(1).

78. Plaintiff has suffered damages and will continue to suffer damages as a result of
Defendants’ breach of warranty and its failures to comply with its lawful obligations under its
written and implied warranties, in particular by way of their refusal to pay for labor costs
associated with removal of the defective roof top unit and re-installation of a replacement unit
and any supplies and materials needed to remove the defective roof top unit and to reinstall the
replacement unit. Plaintiff has also suffered recoverable damages where, in purported reliance

on exclusionary language in its written warranty documents, Defendants have refused to pay

shipping charges for a replacement product.

79, Magnuson-Moss provides for “other Jegal and equitable relief where there has been a
breach of warranty or failure to abide by the obligations that Magnuson-Moss imposes (15
U.S.C. § 2310(d}(1)) therefore Plaintiff seeks reformation of Defendants' warranty documents to

comport with Defendants' obligations under Magnuson-Moss,

80. Plaintiff asks respectfully that the Defendants Cartier Corporation and Peirce-Phelps
be enjoined from acting unlawfully to discourage consumers from seeking the full panoply of

state and federal remedies available to them,

81, Magnuson-Moss also provides for an award of costs and expenses, including
attorneys’ fees, to prevailing consumers in connection with the commencement and prosecution

of lawsuits thereunder, unless the Court in its discretion determines that such an award would be

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Case ID: 150604314
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inappropriate. 15 U.S.C, § 2310(d)}(2), Plaintiff may request an award pursuant to this provision

as a prevailing consumer at the conclusion of this lawsuit.

COUNT V

BREACH OF WARRANTY AND VIOLATIONS OF ART. 2 OF THE UNIFORM
COMMERCIAL CODE

82. The allegations of the above paragraphs are (ncorporated herein as if re-alleged in

full,

83, The Uniform Commercial Code (“U.C.C.”), including Article 2 on Sales, was meant

to hannonize the law governing commercial transactions across the United States, Pennsylvania

has adopted the U.C.C., including Article 2,

84, Where adopted, Article 2 governs transactions in goods and warranty rights and

obligations.

85, Defendants extend a written warranty directly to consumers and warrant that for a

period of years their product shall be free from material defects in workmanship and materials,

(See Extended Protection Limited Warranty, Ex. 16)

86. At the time Defendants’ purported warranties issued, Defendants knew that they had
not corrected the manufacturing processes that ted to litigation with respect to the defective roof
top unit, therefore their disclaimers are unconscionable because they disclaimed a defect known

but not disclosed.

87, In the written warranty belatedly supplied to Plaintiff after Plaintiff advised of the

defects in their roof top unit and the property damages caused by the unit, Defendant Carrier

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generically, specifically and impliedly purports to exclude liability for consequential and

incidental damages. (See Extended Protection Limited Warranty, Ex. 16)

88. These purported exclusions or limitations of liability were at no point negotiated
between Carrier, a global corporation with enormous bargaining power, and the plaintiff

consumer,

89. Plaintiff never even given the benefit of seeing the purported exclusions and
limitations (conspicuous in the warranty or not) until after the mold damage to his income

property was triggered and after he sought redress relative to the defective product he purchased,

90, Under these circumstances, the purported exclusions or limitations of liability are

unconscionable and invalid.

9%. To make matters worse, the defects in the roof top unit sold to Plaintiff were latent

and non discoverable by reasonable inspection at the time plaintiffs purchased the goods.

92. As the Defendants must have been well aware, standard roof top units are intended to
be installed in areas of structures exposed to the elements. When these roof top units fail, any
product meant to replace the defective unit must be transported to the structure and labor is
typically necessary to remove the defective roof top unit, to dispose of it, and to replace it with

the replacement unit.

93. Under these circumstances, a purported limitation or exclusion of the partial but
necessary remedies of payment or reimbursement for shipping charges and the cost of removal
and replacement labor causes the purportedly limited remedy set forth in Carrier's warranty

document to fail of its essential purpose. (See Extended Protection Limited Warranty. Ex. 16)

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d) Having stated the foregoing allegations and claims, Plaintiff additionally prays
that this court issue an Order directing that:

i, that the subject warranty documents be reformed as necessary, and that certain provisions
therein be disregarded as invalid or unenforceable, to permit Plaintiff the full panoply of
remedies available for breach of warranty, express and implied, under Article 2 of the
Uniform Commercial Code (or the applicable provisions of the Pennsylvania Code, as the
court deems appropriate, or otherwise;

ii, that Plaintiff be immediately afforded all remedies available at law or equity, including
but not limited to, awards of damages, restitution, or disgorgement under the consumer
protection laws of Pennsylvania, as applicable, in such amounts to be determined at trial,
with trebling or other multiplying where permitted by law;

lit, that Plaintiff be granted an award of punitive damages as available at law or equity, and
in an amount to be determined at trial;

iv. that Defendant Carrier be enjoined from continuing the illegal activities alleged herein;

v. that Plaintiff recover their costs of suit, including reasonable attommeys’ fees and expenses
as provided by law

5. Such other and further relief as this Court may deem appropriate.

Respectfully submitted,

OQ Sys “
K best ation

Dated: September 20, 2015

JURY DEMAND

Plaintiff respectfully requests a trial by jury on all issues.

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Dated: September 20, 2015

Respectfully submitted,

CERTIFICATE OF SERVICE

Lhereby certify that a true and correct copy of the foregoing instrument has been served
upon the Attorney of Record of all parties to the above captioned case in accordance with

Pennsylvania Rules of Civil Procedure on this 21 day of September , 2015 by the following:

e-file

3817 certificate of mailing

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Case ID: 150604314
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CERTIFICATE. VICE

LDAWO HM ATEHG (AY __, hereby certify that a'true and correct

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copy of the foregoing motion/petition and accompanying papers, was served on the

below listed addresses by first-class United States mail, postage pre-paid, on
RS a: G7 BBE 2] (date). 2O/F

Name: (8 RIGO VCOPP AOLATIUYy

Address: ) 0. BOX Y808 Ce RIE KOPHILAL
Address SVE AC US 8) VE LS a2 | |
City, State, Zip:

 

Name: /-2/ LOS. fPELLST
Address: JOSS P/7 P VACA Oe Fr
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IN THE COURT OF COMMON PLEAS
FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
CIVIL TRIAL DIVISION

DAVID HATCHIGIAN
—Vs—

CARRIER CORPORATION : No. 150604314
and :

PEIRCE-—PHELPS

MOTION

CITY HALL
Courtroom 682
Philadelphia, Pennsylvania

January 23, 2017

See

BEFORE: THE HONORABLE GENE COHEN, J.

Sherri Benson, RPR
OFFICIAL COURT REPORTER
Land Title Building
100 8S. Broad Street, 2nd Floor
Philadelphia, PA 19110 (215) 683-8067

 

 

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APPEARANCES:

WILLIAM HOBSON, ESQ.
For the Plaintiff

KIM WOODIE, ESQ.
For the Defendant ~ Carrier Corporation

JAMES F, RYAN, ESQ.
For the Defendant Peirce-Phelps

 

 

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MR, HOBSON; We have a settlement,
Your Honor. We're willing to accept the
sum of $3,000. In exchange for that,
we're going to drop and dismiss all
Claims. There will be no follow-up claims
of any kind, any appeals against Carrier
or Peirce-Phelps,

MS, WOODIE: Your Honor, there's
another term we wanted to include in the
release language which mirrors the
installation instructions. He is not a
qualified mechanical contractor to install
HVAC equipment.

THE COURT: Why is that necessary?

MS, WOODIE: Because, Your Honor,
he's represented he's a mechanical
contractor in order to purchase this unit
from the distributor, and he's not.

MR. HOBSON: I don't envision my
client is going to be going around
representing himself as a certified
Carrier instructor. I'll make him aware
of that. I don't want any language in
there that insults his integrity because

he is a certified electrician.

 

 

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MS. WOODIE: Different trade.

MR. HOBSON: I agree. Put the
language in there.

THE COURT: You'll prepare the
release then without being too insulting.

MS. WOODIE: Yes, Your Honor.

THE COURT: So they don't come
back here because the release is
insulting.

DAVID HATCHIGIAN, after having
first been duly sworn, was examined and
testified as follows:

THE COURT: Mr. Hatchigian, you
heard the settlement as read into the
record as stated in the record by your
attorney and as reflected by the defense
attorney? You heard that?

MR, HATCHIGIAN: Yes,

THE COURT: And you accept that?

MR. HATCHIGIAN: Yes.

THE COURT: Okay. Mark this

matter as settled,

 

 

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Mar 31 2017 04:20PM HP Fax 2156838006 page 2
a, 1 CERTIFICATE

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3 I, SHERRI BENSON, Registered

4 | Professional Reporter and Certified Shorthand

3 | Reporter in and for the Commonwealth of

6 | Pennsylvania, do hereby certify that the foregoing

? | is a true and accurate transcript of the notes of

8 | testimony of said witness who was first duly sworn

9 | on the daze and place hereinbefore set forth.

10

11 I FIRTHER CERTIFY that I am neither

12 | attorney nor counsel for, nor related to or employed
™ 13 } by any of the parties to the action in which this

14 | trial was taken, and further, that I am not a

15 } relative or employee of any attorney or counsel

16 | employed in this action, nor am I financially

17 | interested in this case,

18

19

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21 Py etesTL

22 HERR] BENSON, REGISTERED PROFESSIONAL REPORTER

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NO
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Court of Common Pleas of Philadelphia County

Trial Division - Civil

 

TRIAL WORK SHEET
Judge's Name: _ Judge's LD:: Signature:
GENE D COHEN J345 ZL
Caption: Case Type: Program:
HATCHIGIAN VS CARRIER CORP. ETAL CONTRACTS (GOODS), ARBITRATION APPEAL
ENFORCE
Court Term and Number: If Consolidated, Court Term and Number:
#1506-04314
Trial Date: . Total Amount: ; Number of Disposition Date Sheet
Jury _ Days: , Date: ' Prepared:

23-JAN-2017-X. Non-Jury _ 23-}AN-2017 '23-JAN-2017

Full Description of Disposition (to be entered Verbatim on the Docket)

Settled after assignment for trial. Settlement placed on record.

Default Judgment/Court Ordered
Directed Verclict
Discontinuance Ordered
Transferred to binding
arbitration
Finding for Defendant (Non-Jury)
- Finding for Plaintiff (Non-Jury)
. Damages Assessed
Judgment entered by agreement

Judgment entered

Judgment satisfied

Plaintiff's Counsel] (name, address & telephone)

TRIALWS REV 2/24/2015

Jury Verdict for Plaintiff Other (explain}

Jury Verdict fur Defendant Hatchigian Vs Carrier C-WSATy

ANN

6043140008

Mistrial
Hung Jury

 

Non-Pros entered

Non-Suit entered

DOCKETED
Settled prior to assignment COMPLEX LIT CENTEE:
for trial (Team Leaders, only) JAN 9.4 2017
x Settled after assignment :
for tial J. STEWART

prior to jury selection

after jury swom

Defendant's Counsel (name, address & telephone)

JAMES F, RYAN
PHONE #(610)971-9200
FAX #(610)971-2491

Page 1 of 2

COPIES SENT PURSUANT TO Pa.R.C.P. 236(b) J. STEWART 01/24/2017
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FILED
O05 MAR 2017 09:21 pm
Civil Administration
E. MASCUILLI
DAVID HATCHIGAN, : IN THE COURT OF COMMON PLEAS
PHILADELPHIA, PENNSYLVANIA
Plaintiff,

v. CIVIL ACTION. LAW
JULY TERM- 2015

CARRIER CORPORATION, and

PEIRCE-PHELPS, : NO. 150604314

Defendants,

ORDER
AND NOW , this day of 2017 upon
consideration of the Motion to INVALIDATE SETTLEMENT and any
response thereto, it is Ordered and Decreed that Motion is GRANTED

BY THE COURT

 

[Smt

Case ID: 150604314
Control No.: 17030827
Case 2:20-cv-04110-CFK Document 16-2 Filed 01/07/21 Page 58 of 88
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DAVID HATCHIGAN, : IN THE COURT OF COMMON PLEAS
PHILADELPHIA, PENNSYLVANIA

Plaintiff,
v CIVIL ACTION- LAW
: . JULY TERM- 2015 |
CARRIER CORPORATION, and
PETRCE-PHELPS, : NO. 150604314
Defendants,

PLAINTIFFE’S MOTION TO INVALIDATE SETTLEMENT and MEMORANDUM of
Law

PURSUANT TO PA RCP NO, 229.1

ee

1. Pa.R.C.P. No, 229.1, relating to settlement funds, provides in part:

(c) Ifa plaintiff and a defendant have entered into an agreement of settlement, the
defendant shall deliver the settlement funds to the attorney for the plaintiff, or to the
plaintiff if unrepresented, within twenty calendar days from receipt of an executed
release. Upon receipt of the settlement funds, the plaintiff shall file a discontinuance or

deliver a discontinuance to the defendant.

(d) If settlement funds are not delivered to the plaintiff within the time required by

subdivision (c), the plaintiff may seek to
(1) invalidate the agreement of settlement as permitted by law, or

(2) impose sanctions on the defendant as provided in subdivision (ce) of this rule.

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- Pa.R.C.P. No. 229.i(c), (d) (emphasis added)

2. Rule 229.1, whose "purpose is to protect parties from reneging on an
agreement{ J" Wright v. Lexington & Conrad Search and Abstract LLC, 26 A.3d 1134 (Pa.
Super. 2011), provides that within twenty calendar days of entering into a release, the defendant

must deliver the agreed upon settlement funds to the plaintiff.

3, The defendant's failure to do so triggers the plaintiff's right under Rule 229.1 to
seek either of two remedies. The plaintiff may seek to invalidate the settlement agreement, the
effect of which would be to resume the civil action, or the plaintiff may seek sanctions against

the defendant.

4, Moreover, Rule 229.1 confers authority on trial courts to, among other things,
enforce settlement agreements so long as the underlying cause of action has not been

discontinued.

5. instantly, the parties have not modified the twenty-one day period by agreement:

6. Jurisdiction remains with this court under Rule 229.1 to invalidate the settlement
as the underlying action has not been terminated by Plaintiff. See Pa.R.C.P. No. 229.1 note
("Upon receipt of the settlement funds, the plaintiff shall file a discontinuance or deliver a

discontinuance to the defendant.").

7, Wherefore, based on the foregoing, this Motion to Invalidate Settlement should be

granted and an Order issued reviving the Civil Action Index No. 150604314.

Me submitt d,

hllace

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Control No.: 17030827
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CERTIFICATE OF SERVICE

I, David Hatchigian , hereby certify that a true and correct copy of the
foregoing Plaintiff Motion to Invalidate Settlement and Memorandum of
Law was served on the below listed address by First -Class United States

Mail 3817 on March 7, 2017

Marshall Dennehey Warner Coleman & Goggin
Mrs. Woodie Esquire

620 Freedom Business Center, Suite 300

King of Prussia, Pa, 19406

610-354-8250-

James F. Rayan Esquire
995 Old Eagle School Road
Suite 306,

Wayne Pa. 19087

Case ID: 150604314
Control No.: 17030827

 
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IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

CIVIL TRIAL DIVISION DCCKETED
COMPLEX LIT CENTER
APR 18 2017
DAVID HATCHIGIAN :
Plaintiff : J. STEWART
: JUNE TERM, 2015
VS.
No. 4314
CARRIER CORPORATION
PEIRCE-PHELPS, INC. : Control No.: 17030827
Defendants

 

ORDER
AND NOW this 18" day of April, 2017, upon consideration of Plaintiff David
Hatchigian’s Motion to Invalidate Settlement, and Defendants’ responses thereto, and after
hearing argument thereon, it is hereby ORDERED and DECREED that said motion js

DENIED.'

BY THE COURT:

April 18, 2017

 

 

Hatchigian Vs Carrier C-ORDER

cc

4506043140009
' Plaintiff was represented by counsel at the original settlement. The Court finds Plaintiff's pro
se conduct unreasonable in failing to sign an appropriate and necessary release in order to secure
the funds trom Defendants’ insurance company.

 

 

 

 
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DAVID HATCHIGIAN, COURT OF COMMON PLEAS.
PHILADELPHIA COUN eee es “sy
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v CIVIL TRIAL DIVISEE

  

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CARRIER CORPORATION, and No. 4314
PEIRCE-PHELPS,

CONCISE STATEMENT OF ERRORS COMPLAINED OF ON APPEAL

Appellant DAVID HATCHIGIAN responds timely to the Order of May 8, 2017, issued
by the Honorable Gene D. Cohen to file of record a Concise Statement of Errors Complained of

on Appeal pursuant to Pa. R.A.P. 1 925(b) as follows:
ISSUES FOR APPEAL
1) Whether the court should have granted the Motion to Invalidate (Order dated
April 18, 2017) and restored this case to the trial calendar where counsel at the original
settlement was not counsel of record, entered no appearance and had no apparent settlement

authority.

2) Whether the deniat of a jury trial was an abuse of discretion under Wertz v.
Chapman Township, 559 Pa. 630 (1999), where Jury Trial Fees were paid and Plaintiff's motion

for a jury trial of July 26, 2016 was unopposed,

Plaintiff-Appellant further reserves the ri ght to supplement and/or amend his Concise Statement,
Tucker v. R.M. Tours, 977 A.2d 1170 (Pa., 2009) (Clarification of a non-concise Statement is a

salutary practice, designed to effectuate appropriate appellate review.)

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Case ID: 150604314
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Respectfully submitted,

 

 

DAVID HATCHIGIAN
Piaintiff-Appellant, Pro Se

Case ID: 150604314
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CERTIFICATE OF SERVICE

I, David Hatchigian , hereby certify that a true and correct copy of the
foregoing Concise Statement of Matters Complained of and was served on

the below listed address by First -Class United States Mail 3817 on May 31

>

2017

_ Marshall Dennehey Warner Coleman & Goggin
Mrs. Woodie Esquire
620 Freedom Business Center, Suite 300
King of Prussia, Pa. 19406
610-354-8250

James F, Rayan Esquire
995 Old Eagle School Road
Suite 306,

Wayne Pa. 19087

Judge Gene Cohen

Court Room 143 G
City Hall Pa, 19107

Case ID: 150604314
Case 2:20-cv-04110-CFK Document 16-2 Filed 01/07/21 Page 67 of 88
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FAX (610) 827-7516 CDA TSF ANS MACHINE

DAVID HATCHIGIAN

2414 Township Line Road

Havertuwn, PA 19085-5236
david309 Ha@authosk. con

 

 

May 31, 2017

Marshall Dennehey Warner Coleman & Goggin
620 Freedom Business Center, Suite 300

King of Prussia, Pa. 19406 |

610-354 8250

RE: David Hatchigian vs. Carrier Corporation and Peirce-Phelps P.C.P. NO.
150604314

Dear Judge Gene Cohen,Ms. Woodie and Mr. Ryan
Please find Plaintiff Concise Statement of Matters Complained of on Appeal.

Any questions please call or e/m.

Respectfully |
the

David Hatchigian
Enclosures (5)

CC: James F. Ryan Esquire 995 Old Eagle School Road Suite 306 Wayne Pa. 19087
Judge Gene D. Cohen Court Room 143 G City Hall Pa. 19107

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David Hatchigian,
Plaintiff

V8,
Carrier Corporation,

Peirce-Phelps, Ine.
Defendants

COURT OF COMMON PLEAS

: PHILADELPHIA COUNTY

June Term, 2015

No. Ot8t+ 431d

 

ORDER PURSUANT TO P.A. R.A.P. 1925(b)

AND NOW, this 8" day of May, 2017, pursuant to Rule 1925(b) of the Pennsylvania

Rules of Appellate Procedure, the Court hereby ORDERS and DIRECTS the Appellant, David

Hatchigian, to file of record in this Court, and to serve a copy upon the undersigned judge, a

concise statement of the errors complained of on appeal. The Appellant shall file and serve this

Stalement pursuant to PA.R.A.P. 1925(bi(1). no later than twenty-one (21) days from entry of

this order on the dockel. The Appellant js cautioned that any issue not properly included in the

statement timely filed and served pursuant to PA.R.A.P. 1925(b) shall be deemed waived.

May 8, 2017

OPES SENT DIIRRHARIT TA DA pA nanan. 2 oe

BY THE COURT:

 

_-~Gene D. Cohen J.
DOCKETED

COMPLEX LIT CENTER
Hatchigian Vs Cartier Corp. Eta ORDER MAY 1 4 2047

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IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

 

CIVIL TRIAL DIVISION
DAVID HATCHIGIAN
Plaintiff
: JUNE TERM, 2015
vs. ge
No. 4314 ab
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: Ge
CARRIER CORPORATION 1514 EDA 2017 RO
PEIRCE-PHELPS, INC. BOY
Defendants = oo
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OPINION

This opinion is issued pursuant to an appeal of the Court’s order denying Plaintiff David
Hatchigian’s Motion to Invalidate Settlement in the above-captioned breach of contract action.
Plaintiff filed his pro-se complaint on September 20, 2015, alleging various counts
against defendants Carrier Corporation and Peirce-Phetps, Inc., in connection with Plaintiff's
purchase of an air conditioning unit, According to the complaint the Plaintiff, the owner-lessor
of an apartment building, purchased an air conditioning system from Defendant Peirce-Phelps,
Inc., a distributor of air conditioning units, for use in his apartment building. The unit was
manufactured by Carrier Corporation. The air conditioner allegedly proved defective and caused
mold to grow in the property, sickening Plaintiff's tenants and requiring them to evacuate the
premises, thus leading to lost rental income for Plaintiff. Plaintiff alleged, inter alia, that
Defendant Peirce-Phelps, Inc., violated its contract of sale by failing to deliver a working air

conditioning system and by failing to repair it once notified of its defective condition, Plaintiff

1 Hatchigian Vs Cartier Corp. EtaLOPFLD

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Case 2:20-cv-04110-CFK Document 16-2 Filed 01/07/21 Page 71 of 88
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also sought to hold liable Defendant Carrier Corporation for negligence in its design of the
system. Carrier Corporation and Peirce-Phelps filed their answers on October 20, 2015, and
October 29, 2015, respectively. The matter proceeded to arbitration and on March 30, 2016, the
arbitrators found in favor of Defendants. On April 25, 2016, Plaintiff appealed from the decision
of the arbitrators. The matter was scheduled for trial on January 23,2017. On the day of trial
the Plaintiff, then represented by counsel, agreed to a settlement with Defendants, the terms of
which were placed on the record. In pertinent part, Plaintiff was to receive $3,000.00 in
exchange for an agreement to dismiss his claims against Defendants. Plaintiff David Hatchigian
was sworn and stated on the record that he accepted the settlement as read. (N.T. 1/23/17 pgs. 3-
4).

On March 5, 2017, the Plaintiff, now pro-se, filed a Motion to Invalidate Settlement,
alleging that Defendants had wrongfully withheld the settlement funds. Defendants filed their
respective Answers in opposition on March 16, 2017. On April 18, 2017, a hearing was held on
Plaintiff's motion, The Court heard evidence that Plaintiff had refused to execute the release
provided to him by defendants, and that settlement funds were withheld for this reason. On April |
18, 2017, the Court denied Plaintiff's motion, writing in its order: “Plaintiff was represented by
counsel at the original settlement. The Court finds Plaintiff's pro se conduct unreasonable in
failing to sign an appropriate and necessary release in order to secure the funds from Defendants’
insurance company.”

On May 5, 2017, Plaintiff timely filed the instant appeal. On May 11, 2017, the Court
issued an order pursuant to Pa.R.C.P. 1925(b), directing Plaintiff to file a concise statement of

matters complained of on appeal within 21 days of the entry of the order on the docket. On May
Case 2:20-cv-04110-CFK Document 16-2 Filed 01/07/21 Page 72 of 88
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31, 2017, Plaintiff timely filed his Statement of Errors. Plaintiff states in his 1925(b) statement
that he intends to raise the following issues on appeal:

“1) Whether the court should have granted the Motion to Invalidate (Order dated April

18, 2017) and restored this case to the trial calendar where counsel at the original

settlement was not counse! of record, entered no appearance and had no apparent

settlement authority,”

“2) Whether the denial of a jury trial was an abuse of discretion under Wertz v. Chapman

Township, 559 Pa. 630 (1999), where Jury Trial Fees were paid and Plaintiff's motion for

a jury trial of July 26, 2016 was unopposed.”

The gravamen of Plaintiff? s first complaint, then, is that the Court should have granted his
Motion to Invalidate Settlement. This complaint is without merit.

The record shows that a settlement was agreed to by the parties on the day of trial and
Plaintiff himself testified that he approved the settlement. (N.T. 1/23/17 pgs. 3-4). Plaintiff was
represented by counsel at this time. Subsequently, Plaintiff refused to return the executed
release. Pennsylvania Rules of Civil Procedure 229.1 provides in pertinent part:

(c) Ifa plaintiff and a defendant have entered into an agreement of settlement, the

defendant shall deliver the settlement funds to the attorney for the plaintiff, or to the

plaintiff if unrepresented, within twenty calendar days from receipt of an executed

release,

(d) If settlement funds are not delivered to the plaintiff within the time required by
subdivision (c), the plaintiff may seek to

(1) invalidate the agreement of settlement as permitted by law...
Plaintiff in his Motion to Invalidate Settlement specifically invoked Pa.R.C.P. 229.1(d)(1) and
requested the Court invalidate the agreement reached with Defendants on the day of trial.
Plaintiffs complaint was and is invalid on its face — Plaintiff cannot invalidate the agreement on
the basis that Defendants had failed to comply with Pa.R.C.P. 229.1(c) by failing to deliver the
settlement funds to him within 20 days of the receipt of an executed release when Plaintiff

himself failed to deliver the executed release. In a subsequent response to Defendant’s answer to
Case 2:20-cy-04110-CFK_ Document 16-2 Filed 01/07/21 Page 73 of 88
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his motion, Plaintiff claimed not to have received the release from Defendants, but nonetheless
indicated that he was “unwilling to sign Defendants’ release.” Rather, he indicated that he would
only sign an order marking the case settled after first receiving settlement funds. In other words,
he was not willing to comply with the settlement. At the hearing Plaintiff indicated that he still
would not sign a release. The Court properly found that this behavior was unreasonable and that
Plaintiff was not entitled to relief under Pa. R.C.P. 229. 1(c).

On appeal, Plaintiff now raises a new issue: that counsel who represented him on the day
of the trial was not really his attorney and had no authority to settle the case. This issue was
never presented to the trial court and cannot be raised for the first time on appeal. In any case it
is moot, because Plaintiff personally testified that he agreed to the settlement.

As to Plaintiffs second issue, this matter was, prior to settlement, ready to be heard as a
non-jury trial. Prior to this appeal Plaintiff never raised the issue of his right to a jury trial. The
case cited by Plaintiff. Wertz v. Chapman Township, 559 Pa. 630 (1999), is inapposite, dealing
as it does with the question of when a plaintiff is entitled to a jury trial as opposed to a non-jury
trial. This has nothing to do with the question of whether a settling Plaintiff can revive a civil
action after having agreed to a settlement and then abrogated it. If Plaintiff intends to raise the
question of whether the Court’s refusal to invalidate his voluntarily agreed to settlement abridges
his right to a érial, our Courts have held that settlement agreements are enforceable. Century
Inn, Inc. v, Century Inn Realty, Inc., 516 4.2d 765, 767 (Pa. Super. 1986). Having agreed to
settle the case and acted unreasonably in failing to effectuate the settlement, Plaintiff cannot
complain that his right to jury trial has been abridged. Therefore Plaintiff's second issue raised

on appeal is without ment.
Case 2:20-cv-04110-CFK Document 16-2 Filed 01/07/21 Page 74 of 88
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For the above-stated reasons, Plaintiff's appeal is without merit and the decision of the

Court should be affirmed.

July 5, 2017

 

 

- Gene D. Cohen J.
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Exhibit "J"
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NON-PRECEDENTIAL DECISION - SEE SUPERIOR COURT I.0.P. 65.37

DAVID HATCHIGIAN, > IN THE SUPERIOR COURT OF
: PENNSYLVANIA
Appellant —
Vv.

CARRIER CORPORATION AND PEIRCE-
PHELPS, INC.,

Appellees > No. 1514 EDA 2017

Appeal from the Order Entered April 18, 2017
in the Court of Common Pleas of Philadelphia County
Civil Division at No(s): June Term, 2015 No. 4314

BEFORE: PANELLA, LAZARUS, and STRASSBURGER, JJ.*
MEMORANDUM BY STRASSBURGER, J.: FILED MAY 21, 2018
David Hatchigian appeals pro se from the April 18, 2017 order, which
denied his motion to invalidate a settlement agreement between himself and
Appellees, Carrier Corporation and Peirce-Phelps, Inc. (collectively,
Appellees). We affirm,
The trial court provided the following background.

[Hatchigian] filed his profjse complaint on September 20,
2015, alleging various counts against [Appellees] in connection
with Hatchigian’s purchase of an air conditioning unit. According
to the complaint [Hatchigian], the owner-lessor of an apartment
building, purchased an air conditioning system fram [Appellee]
Peirce-Phelps, Inc., a distributor of air conditioning units, for use
in his apartment building. The unit was manufactured by
[Appellee] Carrier Corporation. The air conditioner allegedly
proved defective and caused mold to grow in the property,
sickening [Hatchigian’s] tenants and requiring them to evacuate
the premises, thus leading to lost rental income for [Hatchigian].
[Hatchigian] alleged, inter alia, that [Appellee] Peirce-Phelps,

*Retired Senior Judge assigned to the Superior Court,
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Inc., violated its contract of sale by failing to deliver a working air
conditioning system and by failing to repair it once notified of its
defective condition. [Hatchigian] also sought to hold liable
[Appellee] Carrier Corporation for negligence in its design of the
system. [Appellees] filed their answers on October 20, 2015, and
October 29, 2015, respectively, The matter proceeded to
arbitration and on March 30, 2016, the arbitrators found in favor
of [Appellees]. The matter was scheduled for trial on January 23,
2017. On the day of trial [Hatchigian], then represented by
counsel, agreed to a settlement with [Appellees], the terms of
which were placed on the record. In pertinent part, [Hatchigian]
was to receive $3,000.00 in exchange for an agreement to dismiss
claims against [Appellees]. [Hatchigian] was sworn and stated on
the record that he accepted the settlement as read.

On March 5, 2017, [Hatchigian], now profjse, filed a
[mM]Jotion to [i]nvalidate [sJettlement, alleging that [Appellees]
had wrongfully withheld the settlement funds. [Appellees] filed
their respective [a]nswers in Opposition on March 16, 2017, On
April 18, 2017, a hearing was held on [Hatchigian’s} motion, The
[trial court] heard evidence that [Hatchigian] had refused to
execute the release provided to him by [Appellees], and that
settlement funds were withheld for this reason. On April 18, 2017,
the [trial court} denied [Hatchigian’s] motion, writing in its order:
“[Hatchigian] was represented by counsel at the original!
settlement. The [trial] court finds [Hatchigian’s] pro se conduct
unreasonable in failing to sign an appropriate and necessary
release in order to secure the funds from [Appellees’] insurance
companfies].” '

On May 5, 2017, [Hatchigian] timely filed the instant appeal.
On May 11, 2017, the [trial cJourt issued an order pursuant to
Pa.R.[A.]P. 1925(b), directing [Hatchigian] to file a concise
statement of [errors] complained of on appeal within 21 days of
the entry of the order on the docket. On May 31, 2017,
[Hatchigian] timely filed his [s]tatement of {e]rrors. [Hatchigian]
States in his 1925(b) statement that he intends to raise the
following issues on appeal.

“1) Whether the court should have granted the Motion to
invalidate (Order dated Apri] 18, 2017) and restored this
case to the trial calendar where counsel at the original
settlement was not counsel of record, entered no
appearance and had no apparent settlement authority.”

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“2) Whether the denial of a jury trial was an abuse of
discretion under Wertz v. Chapman Township, 559 Pa.
630 (1999), where Jury Trial Fees were paid and
(Hatchigian’s] motion for a jury trial of July 26, 2016 was
unopposed,”

Trial Court Opinion, 7/5/2017, at 1-3 (citations to record omitted),

In his brief to this Court, Hatchigian presents the following issues for
our review.

1. Is the verbal settlement enforceable without settlement
counsel’s express authority to settle?

2. Are the parties entitled to have the Magnuson-Moss Warranty
Act and Commercial Code, breach of contract[,] and negligence
claims decided by a jury?

3. Is this action now due to be listed for trial as the purported
settlement agreement is unenforceable without mutually °
acceptable [rJelease terms reflecting [the trial judge’s]
changes? |

4. Can the trial court resolve genuine issues of material fact
relating to a settlement agreement without allowing discovery
and holding an evidentiary hearing[?]

Hatchigian’s Brief at 5-6 (answers omitted),

In reviewing these issues, we first point aut that “[issues not included
in the [Pa.R.A.P, 1925(b) s]tatement .. are waived.” Pa.R.A.P. 1925(b)(vii).
Accordingly, the only issues presented or fairly suggested in both Appellant’s
Pa.R.A.P. 1925(b) statement and in his statement of questions involved are
(1) whether counsel had authority to settle this case, and (2) whether the trial

court should have scheduled this matter for a jury trial. All other issues are

waived for failure to comply with Pa.R.A.P. 1925.
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According to Hatchigian, while he retained the attorney who appeared
at settlement on his behalf, that attorney “at no point had the authority to
negotiate or consent to a settlement.” Hatchigian’s Brief at 15, Thus,
Hatchigian claims he is entitled to a jury trial,

According to the trial court, “[t]he record shows that a settlement was
agreed to by the parties and [Hatchigian] himself testified that he approved
the settlement. (N.T. 1/23/17 pgs. 3-4).” Trial Court Opinion, 7/5/2017, at 3.
Thus, it is clear that Hatchigian’s argument is meritless because Hatchigian
himself agreed to the settlement on the record.!

Based on the foregoing, we conclude the trial court did not err in denying
Hatchigian’s motion to invalidate the settlement agreement in this case.
Moreover, because there is a valid settlement agreement, the trial court did
not err by not scheduling it for a jury trial,

Order affirmed.

 

1 Hatchigian has not included this transcript in the certified record. “It is the
responsibility of appellant, not this Court, to provide a complete record for
review, including ensuring that any necessary transcripts are included in the
official record.” Commonwealth v. Peifer, 730 A.2d 489, 493 (Pa. Super.
1999),

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Judgment Entered.

 

Joseph D. Seletyn, Esdy
Prothonotary

Date: 5/21/18
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EXHIBIT J
N.T. APRIL 17, 2017
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First Judicial District of Pennsylvania

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_ David Haichigian ¥. Carrier Corporation

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Motion Volume I :
April 18, 2017. a

  

 

First Judicial Distrie of Pennsylvania
100 South Broad Street, Second Floor
Philadelphia, PA 19116
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MR. HATCHIGIAN: No, he's e friend of
Mr. Ryan's, He siggsited he might be ableto

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Mr. Hatohigion, L-agree with you, that this

is ~- even. though this is an almost standard
document that gets exchanged between lawyers,
this is not the stindard document that sete
Sent to clients, beoatise it seeris like they're
diving away your ctilldves, and your tights-to
live; aid your rightto ben citizen of the
United States, It etome like that; its not.

Ite toally jonecuous, in terms of, i's 3
relatively haroiless document, and l'vé seen en
many of them.

But, Coutigel, ciin voit create « release
that svould be: that he relenses your olfent
frond. shy and all claims surrounding the
purchase of this iter?

MS. WGODIE: And its components?

THE GOUR'T:. And ite components, Andyou
do.that, and that’s what he releases. Because
he may want to sue your client for something
else; he may wantto sue‘you for soriething
else. But this is something that makes him
foul like lie can’t do that; And without
Mr. Hobson explaining each and every line to
him, which I'm not toteuding to do.

Now; this is the issue, the: motion to

HRT vee merge nn ma a al GE Re te Pe aletehlome ATS AT tetera ne

beeause 1 have all the éommponent parts listed,
T could, if'you want me to, delete the second
paragiaph,
THE COURT: Well, look, you know, I've
given it consideration of 3,500, both of it
this case ftom any and all Claims swtround
the purebase of these items, And thit you
don't— the liability, I don't dere abont
that. Youses, all that is jist
MS. WOODIE: J think f oan ~
THE COURT: All thet is surplusage. 1
don't remember what we used to call it,
THE COURT: Well, no, it's surplus
verbiage, we can agree to thet, that the Court
doosn't like the releaes; biit Vth ordering to
simplify the release, make arratigens
Axe the chegks available?
MS, WOODIE: Weil, I need a W9 signed,
Your Honat; and I brqught it with mp today,
THE COURT: Work it cutithers, Ge autto
the othe: room and, either, handwrite the
release, or something to that effect. Where's

   

  

 

    

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Page id
conipel is denied; however, the Conit is.
ordering the defendants to propare an
appropriate releasd for the cirounstances of
this pertioular case, So that, as soon as you
sign it, they'll give you the money,
MR. HATCHIGIAN: May suggest, with all
due respect to the Court, a release that says
its settled, disbontinued and ended? That:
will take oare of the problem,
THE COURT: Wall, no. Nov That dosn't

  

 

take care of the problem, Bueduse'th
torbe assured thet you don't find ihothier way
to ane their client over the simething ina
different way.

MR. HATGHIGIAN: Right

THE COURT: Settle, discontiive andiend
docin't do thet: ‘That's why:= see, the

  
 

    

settlements of cenes, ‘So that thair client is
released from any and all claim ilated to
the ale, purchase and inseallation off
particular sir coniitioner,

MS, WOODIE: 1 think we cans, Your Honor,

on agmr
the money? (eee

MS. WOODIE: The client has the money,
beoauge I have to —

THE COURT: How fast can we get the
money

MS. WODDIE: Idon'tknow, Probebly.a
weak, Lwoutd ginas,

THE.COURT: Lunderstind the problem, but
we're going to-do this, the niction ip denied,
Contingent upon them preparing: an: appropriete
release that you can understand, and sign thar
with an order -t settle gud discontinne.

You're gohig.to go-ounide, youre going
to do.the W5 fort, 96 that ~ they're going to
need your Social Security muaribag) and pitthat
down on there sp that they om get a deduétion
for having paid. you.

Tin going t6 set you outelde, if there's
4 problede with thix, let the court officer
know and well have a discussion on it.

MR. RYAN: You want us to prepare a new
veleast obteide, Your Honor? =

THE COURT: Ifyoucen. I have
-Computer:in here, we oan type oie ous, 2
guess. But it's

   

AM Mel, dimen, of ees

 

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Court Reporting Syatem

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Page 13,
Where's your oificas?
MS. WOODIE: 2000 Market,
| THE-COURT; Thaow where you are,
M8; WOODIE: But f Cah got Access to it
at 2000 Market,
THE COURT: Go outside and work it out,
MR. HATCHIGIAN: ‘Thank you.

THE GOURT: What's the issue?

MR. HATGHIGIAN: Okay: thave prepared a
release, Lin willing to staple it to may
SH-page complaint, releasing both defadants
for everything tats in my &4-page corplainy,
which think:is fair, of-at least it should
be ra

 

  

MS. WOODIE: ‘Your Honor, itrambles; it's
onsistedt, It's a document thet J would

feo! cpmfonrable lidgating later, it thats

the scope of the onse.

MR. RYAN: Your Honor, we pared-down the

Hatcbigion, telling tin Ion

 

 
    

not his lawyer, but expiatiad to tien,

THE COURT: Do it again:to, who?

MR. RYAN: He's going to file:with
another Carriér and put it in by himesit

THE COURT: The question here, is, who's
being reloaded in this tian?

MR RYAN: Cat bt Gd Peiroe-Pheiis,

THE COURT: 8o whats the inpue? So-he’s
releasing Carrier?

MS. WOODIE: He doesn'tknow how to
instalt it: Not electrically, I'm not
disputing that But, Your Hone, be made
Severn] deciviony not toda things thatthe
instraotous say, and ithe did, indeed, have
‘Wwater:or condensation ia the ithit, i was
beciuse of that,

THE-COURT: Well, thats the defense, I
don't know whither that's ~~ shit's 4

Pape 15

nasociated equipirent,

THE GOURT: And you're afraid he’s going
to buy adiother Cxsvier?

MS. WOODIE: tHe ssid be Was going to do
it.

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April 1h ant?
Page 44
{i} there's only -- there's cna issue that-we've
i] sort of come to oddy with.
a] THE GOURT:. What eth one issue?
(8) MRRYAN: That ~ this whole thing, sort
8 of, originated: bebause My. Ratohigian
IS}. purchased @ Cartier, as you know,
(7) THE COURT: Toy aware-of the facts of the
1B) case,
1) MR. RYAN; And be inptalled it himselt
(0) MS. WOODIE: And he fepttsentes he-was a
[11] mechanical codtrigtar,
2} MR. RYAN: And intider the terms of ite
113) ‘instructions aiid-sll, these things have ti be
(14) installed by a Cartier, a licensed person,
£16) which ho is not, “Well, pot licensed, but a
118} qualified person,
7) THE COURT: ‘That was the deferine ixi the
(181 matter, I understand j

 

_ 1B] MR. RYAN: Right And he's going — th

20} belief would be that he's going to do it

BY agin |

2 MS. WOODIE: He cays lily going t0 doit
23]
oa
- 18]

PAE te Ss Aer ok i ante ore

again.
MR. RYAN: He savi he's gving 16 doit

(oe Temes pes

tf THE COURT: And try 10 install it again
12] and then file anothor Jnwsuit?

TR NC wo ieee SNE eae Hanne ney cite sey ap me ree

+ 8 MS. WOODIE:. Um-hun,

 

4) MR: HATCHIGIAN: This it a 5 ckage unit,
{5} Your Honoe ~
(61 THE GOURT: No, don't toll me.that. The
(1 question really ia, is that, thon it becomes s
18) scam; do you understand? You buy ft-and then
(install it, then sup, that's what they're
fo) Byingto preven,
{11 MR. HATCHIGIAN: Yeah,
{12} THE COURT: So the question really ig,
(13) they want you {0 sthy away frony buying and
4] Suiby Carrier agate for thie saine:thitiy,
ig MR. HATCHIGIAN: Right, Tacked~
116] THE COURT: Now, 1 remember this happened
117} one finde, and our eeninent Mr. Sprague did the
158 seine thing with Verizon, and ended ap
[18 releasing & parifvular claim end thet starting
RO soother oleim with the sane plahiite and it
RY bécame almost like #:cotingn industry fir g
Fr3j While.
{234 MR, RYAN: There's b history here, Your
(25) THE GOURT: So what kind of language

 

Janene Lenox, OCR

Court Reporting System

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me Carrer Corporation __ Maton Votunie

 

m1 sent Pt OP this om boning ” (1) another one and does it again. “ate 18
~ MS. WOODIE! Vnur tee: | 2 MR. RYAN: Filétchinos he lenmuees.
ig . copie ne Your Honot, do you have the 7 MR HATCH = ee .
neg MOORE: tte sree tea rman nee a
i THE Coun atte on ge ano, 7) tobon seamen. Shean font Tame
1 —_adbision that he docs have dos GI the qualified:petson, will coitius buying
4 Mee one eesnt BAVS to-do it. I G) _theriy, sentinue to:isistall therm, and fT hee
(70) don't tike that, clther 1 sleo spesifiealty ‘f0} a problem, J will hold ea era have
It ackabwlodge thataay— forte Sexpenesl Sia
Ty HE COURT REPORTER: ar tony, Your 12) My eliae |
nor, alow dows, pleage, 1 Ag} THE COURT: No. you're noe
| THE COURT: ‘The lnguage thts being jt THB COURT: No, yout nt going odo
(7 | teow tat ay bead af Caer [ten than COURT: No, youre not going to do
| inconditioning equipniont aust bp installed | 118) MR. HATCHIGIAN: My release, here says
zo) | peso, and tha ase ae | 9) to settle, dlacootiate tn Parle his Common,
Persoo, and that [att not a qualified eenag | Ee Rett, dlseoatinag i Philadsiphis Comme
OF neg Uicensed Bj Fleas Court, Nib. 1506 —
5

  

  

 

  

  

. MR, HATCH Right, 12 tll yor eee ere
THE COURT: Waynes ; -E2) tll you what fin going to do, Me. Hatchigian,

TRE COURT: Why would he have to mike i) if you don't begis to. cooperste and un fetes

Pa | MS, WOODIE: Because if he gues andtays a deny yen motion comet watch

ity the end fit, And thén you'll be in a Page 18 It) wee Page 20

i] “Position hereto either sign the release thet rai

(3) they: want-o¢ iio pet the meine. Ry

14) Now, you can't be unreasonable with m6, ‘Ki

(8) MR. HATCHIGIANS No, Fim act being 5]

(C] _Uhireasoiabte, “(6

V1 THE GOURT: Their position de, and what m

(E)_ they're concemed about, they're settling with )

BF You, bit they don't want you buying and (9

Fo} Installing any mors Carrier air-conditioning [19)

itt] and then. come srdund and sue them again, which 14

{12} is.a reasonable request, 112]

[13] ‘What Ienguage would you like that you'r (19)

[14] Rot going to do-that again? ‘Tay

is an MATOHIGIAN: Ath ast dgreeabls to ‘Hy

16 é. : “tt

{17} THE. COURT: Okay. Weil, then, tiemotion in

(18] to compel iy denied, nnd thon you cau sit on fe)

ve your sete and ty (0 file. an appedi from’ "{19)
( S. :

[21] MR. HATCHIGIAN: Thank you, 2

(22) THE COURT: There you sie, Youre 2]

(23) excused, 3}

{24} wen (247

[28 (Procesdings conchided,) ‘28

   

 

 

  

 
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CERTIFICATION

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Officis! Coutt Reporter

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Jenene Lawn, OCR

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